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                                      EXHIBIT B

                              Second Monthly Fee Statement




 DOCS_LA:338148.1 05067/002
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

     In re:                                                      Case No. 20-10846

     THE ROMAN CATHOLIC CHURCH                                   Section “A”
     OF THE ARCHDIOCESE OF NEW
     ORLEANS,                                                    Chapter 11
                        Debtor. 1
                                                                 Objection Deadline: June 8, 2021




  MONTHLY FEE AND EXPENSE STATEMENT OF BERKELEY RESEARCH GROUP,
    LLC FOR THE PERIOD NOVEMBER 1, 2020 THROUGH NOVEMBER 30, 2020

              1.   In accordance with Section XIII(B) of the Court’s December 4, 2019 General

 Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

 Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

 Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

 debtor and debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense

 Statement (the “Statement”) for the period from November 1, 2020 through November 30, 2020

 (the “Statement Period”) for the above-styled Chapter 11 bankruptcy case (collectively, the

 “Bankruptcy Case”).

              ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

              2.   The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

 the Committee in connection with the Bankruptcy Case during the Statement Period, including the

 hourly rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A.




 1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
 business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


                                                         1
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        3.      The detailed time record of BRG for the Statement Period are attached hereto as

 Exhibit B.

        4.      In addition, under separate cover, the detailed time record under Exhibit B will be

 sent to the Office of the United States Trustee in the LEDES format.

        As of the date hereof, BRG has received the following payments for fees and expenses

 incurred from the Debtors’ estates post-petition: None.

       TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

        5.      The total amounts sought for fees for professional services rendered and

 reimbursement of expenses incurred for the Statement Period are as follows:

                            November 1, 2020 to November 30, 2020

               Fees (at standard rates)                           $7,612.00

                (Voluntary Reduction)                           ($1,322.50)

               Fees (After reduction)                             $6,289.50



               Expenses                                              $75.00

               Total                                              $6,364.50




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                         NOTICE AND OBJECTION PROCEDURES

        6.      In accordance with the Interim Compensation Order, notice of the Statement has

 been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

 (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

 Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

 David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

 L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

 1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

 P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

 One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

 of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130.

        7.      Also pursuant to the Complex Case Order, any objections to this Statement must

 be asserted on or before June 8, 2021 (the “Objection Deadline”), setting forth the nature of the

 objection and the specific amount of fees or expenses at issue.

        8.      If no objections to the Statement are received on or before the Objection Deadline,

 the Debtor, pursuant to the Complex Case Order, is authorized to pay BRG on an interim basis the

 total amount of $5,106.60 which consists of eighty percent (80%) of BRG’s total fees of $6,289.50,

 or $5,031.60, and one hundred percent (100%) of BRG’s total expenses of $75.00 for the

 Statement Period.

        9.      To the extent an objection to the Statement is received on or before the Objection

 Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

 is directed and will promptly pay the remainder of the fees and disbursements in the percentages
                                                 3
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 set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

 for consideration at the next interim fee application hearing.

  Dated: May 25, 2021                                  Respectfully submitted,

                                                       By:/s/ Paul N. Shields
                                                          Matthew K. Babcock
                                                          Paul N. Shields
                                                          Berkeley Research Group, LLC
                                                          201 South Main Street, Suite 450
                                                          Salt Lake City, Utah 84111
                                                          Telephone: (801) 364-6233
                                                          Email: mbabcock@thinkbrg.com
                                                                 pshields@thinkbrg.com

                                                       Financial Advisors to the Official Committee of
                                                       Unsecured Creditors




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                                     EXHIBIT A

                                 (Timekeeper Summary)




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       COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
              NOVEMBER 1, 2020 THROUGH NOVEMBER 30, 2020


       Name               Title       Hourly Rate   Hours         Amount

 Paul Shields       Managing             $590         9.90           $5,841.00
                    Director

 Matthew Babcock    Associate            $515          0.7            $360.50
                    Director
 Shelby Chaffos     Associate            $220          0.4              $88.00
                                                     11.00           $6,289.50
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                                     EXHIBIT B

                                  (November Invoice)
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 2 of 6
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113802
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From November 1, 2020 Through November 30, 2020

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  Paul Shields                                                             590.00        9.90           5,841.00

Associate Director
   Matthew Babcock                                                         515.00        0.70             360.50

Associate
   Shelby Chaffos                                                          220.00        0.40               88.00

Total Professional Services                                                             11.00           6,289.50

EXPENSES

Publications                                                                                               75.00
Total Expenses                                                                                             75.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 3 of 6
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113802
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
  200.20      Document / Data Analysis (Financial / Accounting)                           0.30            177.00
  200.90      Document / Data Analysis (Production Requests)                              2.00          1,180.00
              Debtors Operations / Monitoring (Monthly Operating Reports / Periodic
   220.00     Reporting)                                                                   2.80         1,504.00
   600.00     Claims / Liability Analysis (General)                                        0.70           360.50
  1060.00     Fee Application Preparation & Hearing                                        5.20         3,068.00

Total Professional Services                                                               11.00         6,289.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 4 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113802
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From November 1, 2020 Through November 30, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.20 - Document / Data Analysis (Financial / Accounting)
11/18/20     Paul Shields              Evaluated summary of debt                       0.30      590.00           177.00
                                       information and status of requests for
                                       information.
                                          Total for Task Code 200.20                   0.30                       177.00

Task Code: 200.90 - Document / Data Analysis (Production Requests)
11/17/20     Paul Shields              Spoke with UCC Council (KB, DB)                 0.50      590.00           295.00
                                       regarding requests for documents and
                                       information from both the
                                       Archdiocese of New Orleans as well as
                                       non-debtor affiliates.
11/19/20     Paul Shields                 Prepared follow up requests about            0.20      590.00           118.00
                                          obtaining bankruptcy schedule detail
                                          in Excel format and interim reports
                                          without redactions.
11/21/20     Paul Shields                 Evaluated issues for consideration,          1.20      590.00           708.00
                                          and additional requests to make from
                                          the Archdiocese, in response to the
                                          Debtor's request for an increase in the
                                          credit limit on one of the Archdiocese
                                          credit cards.
11/30/20     Paul Shields                 Communicated regarding requests for          0.10      590.00            59.00
                                          detail of amended bankruptcy
                                          schedules in Excel format and period
                                          reports without redactions.
                                          Total for Task Code 200.90                   2.00                     1,180.00

Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
11/03/20     Shelby Chaffos              Examined Periodic Interim Reports for     0.40    220.00                  88.00
                                         the Two-Week Period Ending July 31,
                                         2020.
11/03/20     Paul Shields                 Instructed staff regarding work to           0.30      590.00           177.00
                                          perform in connection with
                                          downloading and organizing monthly
                                          operating reports.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 5 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113802
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
11/04/20     Paul Shields                 Analysis of monthly operating reports        2.10      590.00         1,239.00
                                          (1.6) and communicated to UCC
                                          Counsel follow up issues for further
                                          consideration (0.5).
                                          Total for Task Code 220.00                   2.80                     1,504.00

Task Code: 600.00 - Claims / Liability Analysis (General)
11/30/20     Matthew Babcock               Examined filed claims, including            0.70      515.00           360.50
                                           review of available documentation on
                                           Donlin Recano website.
                                          Total for Task Code 600.00                   0.70                       360.50

Task Code: 1060.00 - Fee Application Preparation & Hearing
11/19/20     Paul Shields                Spoke with UCC Counsel (LC) regarding         0.30      590.00           177.00
                                         instructions relating to fee statement
                                         and fee application preparation.
11/24/20     Paul Shields                 Evaluated August 2020 time                   1.30      590.00           767.00
                                          descriptions and task codes in order to
                                          ensure proper time descriptions and
                                          categorization of time entries,
                                          including making any necessary
                                          adjustments to task codes or time
                                          descriptions.
11/24/20     Paul Shields                 Evaluated July 2020 time descriptions        1.60      590.00           944.00
                                          and task codes in order to ensure
                                          proper time descriptions and
                                          categorization of time entries,
                                          including making any necessary
                                          adjustments to task codes or time
                                          descriptions.
11/24/20     Paul Shields                 Evaluated June 2020 time descriptions        0.60      590.00           354.00
                                          and task codes in order to ensure
                                          proper time descriptions and
                                          categorization of time entries,
                                          including making any necessary
                                          adjustments to task codes or time
                                          descriptions.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 6 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113802
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date           Name                        Description                                Hours        Rate          Amount
11/25/20       Paul Shields                Evaluated August 2020 time                  1.30      590.00           767.00
                                           descriptions and task codes in order to
                                           ensure proper time descriptions and
                                           categorization of time entries,
                                           including making any necessary
                                           adjustments to task codes or time
                                           descriptions.
11/30/20       Paul Shields                Communicated regarding updates to           0.10      590.00            59.00
                                           Archdiocese of New Orleans task
                                           codes.
                                           Total for Task Code 1060.00                 5.20                     3,068.00

Professional Services                                                                 11.00                     6,289.50

DETAIL OF EXPENSES

Date              Description                                                                                    Amount
Publications
11/05/20          Shields, Paul - Payment of Expenses Publications on 2020-08-04. Line Number 40.                  75.00
                  Publication: Louisiana Economic Outlook to LSU Foundation. . Expense Rept# 0100-
                  4212-4638
                  Total For Publications                                                                           75.00

Expenses                                                                                                           75.00
